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ARLENE GORDON-OLIVER & ASSOCIATES, PLLC
Proposed Attorneys for the Debtor
199 Main Street, Suite 203
White Plains, New York 10601
(914) 683-9750

Arlene Gordon-Oliver, Esq.

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
---------------------------------------------------------------------X
In re:
                                                                             Chapter 11
Marlene Marshalleck                                                          Case No. 17-42418 (NHL)

                                            Debtor.

----------------------------------------------------------------------X

  AFFIRMATION OF ARLENE GORDON-OLIVER IN SUPPORT OF APPLICATION
       TO EMPLOY AND RETAIN ARLENE GORDON-OLIVER, PLLC AS
   ATTORNEYS FOR DEBTOR, NUNC PRO TUNC, AS OF THE DATE OF FILING



        ARLENE GORDON-OLIVER, affirms as follows:

        1.       I am an attorney duly admitted to practice before this Court and the principal of

the law firm of Arlene Gordon-Oliver & Associates, PLLC (“AGOPLLC”), 199 Main Street,

Suite 203, White Plains, New York 10601.

        2.       I submit this affidavit in support of the Debtor’s Application to Employ and

Retain AGOPLLC as Attorneys for the Debtor in connection with the above-captioned chapter

11 case, on the terms set forth in the accompanying Application.

        3.       Neither I, nor AGOPLLC has any connection with the Debtor, her creditors, or

any other party in interest herein or their respective attorneys.

         4.      Neither I nor AGOPLLC is a pre-petition creditor of the Debtor.

        5.       Based upon all of the foregoing, I respectfully submit that AGOPLLC does not



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hold nor represent any interest adverse to the Debtor herein or her estate.

          6.   AGOPLLC shall make proper application to the Court for compensation for the

services rendered to the Debtor in this proceeding pursuant to Sections 330 and 331of the Code.

                                     DISINTERESTEDNESS

          7.   To the best of my knowledge, the law firm of AGOPLLC is a disinterested person

within the meaning of 11 U.S.C. § 101(14) in that its members and associates (a) are not

creditors, equity security holders or insiders of the Debtor, (b) are not and were not within two

years before the Filing Date a director, officer or employee of the Debtor, (c) do not have an

interest materially adverse to the interest of the estate, or any class of creditors or equity security

holders by reason of any direct or indirect relationship to, connection with, or interest in the

Debtor, or for any other reason.

                                DISCLOSURE PROCEDURES

          8.   In preparing this affidavit, I searched the following categories:

               a. Debtor and its affiliates

               b. Significant equity holders

               c. Current directors and officers

               d. Lenders and secured creditors

               e. Counterparties to leases

               f. Professionals

               g. Unsecured Creditors

          9.   Upon review of the list, it is apparent that other than AGOPLLC does not hold or

represent any interest that is adverse to the Debtor’s estate and AGOPLLC is a disinterested

person.




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       10.     AGOPLLC is not aware of any past or present relationship that would disqualify

AGOPLLC from representing the Debtor.

                                      BILLING RATES

       11.     This firm's billing rates are as follows:

               Arlene Gordon-Oliver        $485.00
               Law Clerk/Paraprofessionals $150.00

       12.     AGOPLLC received a pre-petition retainer from the Debtor in the amount of

$20,000 on account of filing fees and expenses. None of the pre-petition retainer was paid

towards or on account of any antecedent debt owed to AGOPLLC by the Debtor within the 11

U.S.C.A. § 547 period. Furthermore, no payments other than the pre-petition retainer were

received by AGOPLLC within the 11 U.S.C. § 547 period. Accordingly, Deponent submits that

the pre-petition retainer received by AGOPLLC is not a preferential or otherwise avoidable

payment and that neither Deponent nor AGOPLLC holds nor represents any adverse interest to

the Debtor or her estate on matters in which Deponent seeks to be retained. A portion of the pre-

petition retainer in the amount of $5,044.00 was applied to pre-petition services with an amount

remaining of $14,956. The remaining amount shall be applied to post-petition services in the first

interim fee application approved by the court, and is therefore not to be considered an “evergreen

retainer” as such term is more commonly known.

       13.     AGOPLLC has agreed not to share compensation in connection with the Debtor’s

Chapter 11 Case with any other entity, except as permitted under the Bankruptcy Code.




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       WHEREFORE, your Deponent respectfully requests the entry of the pre-fixed order,

together with such other and further relief as is proper.

Dated: June 30, 2016
       White Plains, New York

                                                            By /s/ Arlene Gordon-Oliver_
                                                                    Arlene Gordon-Oliver




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